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                                UNITED STATES DISTRICT COURT
                                   DISTRICT OF NEW JERSEY
                                      CAMDEN DIVISION

THE INDEPENDENCE PROJECT, INC., a New
Jersey Non Profit Corporation, and DENNIS
MAURER, Individually,

               Plaintiffs,                                   Case No. 1:16-06133-JBS-AMD
vs.

EVERGREEN I ASSOCIATES, LLC a New Jersey
Limited Liability Company,

               Defendant.


      PLAINTIFFS' REQUEST FOR ENTRY OF JUDGMENT AFTER DEFAULT

       COMES NOW the Plaintiffs, The Independence Project, Inc., a New Jersey Non-Profit

Corporation, and Dennis Maurer, Individually, by and through their undersigned counsel, and

hereby file this Request for Entry of Judgment After Default pursuant to Fed.R.Civ.P. 55(b)(2)

against Defendant, Evergreen I Associates, LLC, a New Jersey Limited Liability Company, on

the grounds set forth herein"

              MOTION AND INCORPORATED MEMORANDUM OF LAW

       This is an action for injunctive relief, damages, attorney's fees, litigation expenses and

costs, pursuant to the Americans With Disabilities Act, 42 U.S.C. § 12181 et seq. ("ADA"), and

the New Jersey Law Against Discrimination.

       Having failed to retain counsel and file a responsive pleading, a default was entered

against Defendant by the Clerk of the Court on January 5, 2017.

       For further grounds for entering judgment after default, the Plaintiffs submit the

following Memorandum of Law and Supporting Affidavit of their expe rt, a copy of which is
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attached hereto as Exhibit A. If required, the P laintiffs expert would be available to appear at

any Evidentiary Hearing required by the Court to provide further support for the relief request

herein.

                                    MEMORANDUM OF LAW

          This Court has jurisdiction over the action pursuant to 28 U.S.C. § 1331 and 1343 for

Plaintiffs claim arising under 28 U.S.C. §12181, et seqbased on Defendant's violations of

Title III of the Americans With Disabilities Act and supplemental jurisdiction over the Plaintiffs

state law claim brought pursuant to the New Jersey Law Against Discrimination (N.J.S.A.) §10.5

etseq. By virtue of 28 U.S.C. § 1367.

          Pursuant to the provisions of Rule 55 o f the Federal Rules o f Civil procedure, when a

party against whom affirmative relief is sought has failed to plead or otherwise defend as

provided by the Rules of Civil procedure, such as the Defendant in this cause, a Default shall be

entered against that party. Thereafter, a Default Judgment shall be entered by the Court against

the Defendant, based upon evidence provided by a supporting affidavit and/or a hearing if

necessary.

          On July 26, 1990, Congress enacted the Americans With Disa bilities Act, and established

January 26, 1992, as the date when all public accommodations had to comply therewith. 42

U.S.C. § 12181; 28 C.F.R. § 36.508(a)(or January 26, 1993) if Defendant has 10 or fewer

employees and gross receipts of $500,000 or less). Under either scenario, the Defendant's

deadline for compliance has long since passed.

          The premises which ar e owned, operated, leased, leased by or leased to the Defendant, is

a shopping center known as "Evergreen Plaza", which must be accessible by individuals with


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disabilities. Pursuant to 42 U.S.C. § 12181(7); 28 C.F.R. § 36.104, the building which is the

subject of this action is a place of public accommodation covered by the ADA.

        Pursuant to the mandates of 42 U.S.C. §12134(a), on July 26, 19 91, the Department of

Justice, Office of the Attorney General, promulgated federal regulations to implement the

requirements of the ADA, 28 C.F.R. Part 36. As set forth in Exhibit A, the Affidavit filed

herewith, Defendant, Evergreen I Associates, LLC, is in violation of 42 U.S.C. 12181 et seq., and

28 C.F.R. 36.302 et seq., and is discriminating against the Plaintiff. The discrimination is based

on the Defendant denying Plaintiff full and equal enjoyment of the goods, services, facilities,

privileges, advantages and/or accommodations as prohibited by 42 U.S.C. § 12182(b)(2)(A)(iv),

where such removal is readily achievable.          The denial to Plaintiff of the full and equal

enjoyment of Defendant's public accommodation is also prohibited by the New Jersey Law

Against Discrimination. See. N.J.S.A. 10.5-4.

       Plaintiffs has been obligated to retain the undersigned counsel for the filing and

prosecution of this action, and have agreed to pay their counsel reasonable attorney's fees,

including costs, litigation expenses and expert's fees and costs incurred in this action. Plaintiff

is entitled to recover those attorney's fees, costs and litigation expenses from Defendant purs uant

to 42 U.S.C. §13305. Plaintiff, Dennis Maurer is also entitled to damages , but he has elected to

waive the recovery of any damages in this case.

       Pursuant to 42 U.S.C. 12188(a)(2), this Court is provided authority to grant Plaintiffs

injunctive relief, including an Order to alter the subject facilities t o make them readily ac cessible

to and useable b y individuals with disabilities to the extent requir ed by the ADA, and closing the

subject facilities until the requisite modifications are completed.


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       WHEREFORE, Plaintiff respectfully moves this Court to enter Judgment After Default

against the Defendant, Evergreen I Associates, LLC, enjoining it from discriminating against

individual with disabilities and closing the subject facilities unless the listed ADA violations are

completed within ninety (90) days and awarding Plaintiff his attorney's fees, litigation expenses

and costs incurred in this matter.

                                 CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 17th day of March. 2017. I electronically filed the

foregoing document with the Clerk of this Court using the CM/ECF System and the foregoing

document was sent by Certified, U.S. mail, Return Receipt Requested to Evergreen I Associ ates,

LLC, d/b/a Evergreen Plaza, c/o its Registered Agent, Nicholas J. Aynilian, 381 Broadway,

Second Floor, Westwood, NJ 07675.

                                              Respectfully Submitted,

                                              /s/ Keith Harris
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